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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


ROTHSCHILD BROADCAST                                   )
DISTRIBUTION SYSTEMS, LLC,                             )
                                                       )
                  Plaintiff,                           )
                                                       )    Civil Action No. 6:23-cv-339
          v.                                           )
                                                       )
                                                            Judge Fred Biery
ADT, INC.,                                             )
                                                       )
                  Defendant.                           )



    ADT INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO RBDS’ COMPLAINT

          Defendant ADT Inc. (“ADT”) hereby answers Rothschild Broadcast Distribution

Systems, LLC’s (“RBDS”) Complaint (the “Complaint”) in the Western District of Texas (the

“District”). ADT answers and avers as follows, with the numbered paragraphs corresponding to

the like-numbered paragraphs of the Complaint. Allegations not expressly admitted herein are

denied.

                                              PARTIES1

          1.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 1, and therefore denies each of the allegations in paragraph 1 of the Complaint.

          2.      ADT admits it is organized under the laws of the State of Delaware. ADT admits

its principal place of business and corporate headquarters is at 1501 Yamato Road, Boca Raton,

Florida, USA 334314. ADT admits it may be served with process through its registered agent,

CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201, USA.


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 The headings in the Complaint are reproduced herein for the convenience of the reader. To the
extent such headings include or infer allegations, they are denied.

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                                 JURISDICTION AND VENUE

       3.      ADT admits that this is an action for alleged patent infringement arising under

Title 35 of the United States Code.

       4.      ADT admits that the Court has subject matter jurisdiction over this action under

28 U.S.C. §§ 1331 and 1338(a).

       5.      ADT admits that it has a place of business in this District. For the purposes of this

action only, ADT does not contest personal jurisdiction in this Court over ADT. ADT denies the

remaining allegations in paragraph 5 of the Complaint.

       6.      ADT admits that it has a place of business in this District. For the purposes of this

action only, ADT does not contest personal jurisdiction in this Court over ADT. ADT denies the

remaining allegations in paragraph 6 of the Complaint.

       7.      ADT admits that it has a place of business in this District. For the purposes of this

action only, ADT does not contest personal jurisdiction in this Court over ADT. ADT denies the

remaining allegations in paragraph 7 of the Complaint.

       8.      ADT denies venue is proper in this District under 28 U.S.C. § § 1391(b) and

1400(b) as ADT is neither incorporated in Texas nor has its principal place of business in this

District. ADT admits that it has a place of business in this District. For the purposes of this action

only, ADT does not contest venue under 29 U.S.C. §§ 1391(b) and 1400(b) but denies that this is

the most appropriate or convenient venue for this action. ADT denies the remaining allegations

in paragraph 8 of the Complaint.

                                        PATENT-IN-SUIT

       9.      ADT lacks sufficient information regarding ownership of the patent and therefore

denies that RBDS owns the U.S. Patent No. 8,856,221 (the “’221 patent” or the “Patent-in-

Suit”). ADT denies the remaining allegations in paragraph 9 of the Complaint.

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       10.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 10, and therefore denies each of the allegations in paragraph 10 of the

Complaint.

       11.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 11, and therefore denies each of the allegations in paragraph 11 of the

Complaint.

       12.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 12, and therefore denies each of the allegations in paragraph 12 of the

Complaint.

       13.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 13, and therefore denies each of the allegations in paragraph 13 of the

Complaint.

       14.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 14, and therefore denies each of the allegations in paragraph 14 of the

Complaint.

       15.      ADT admits that Exhibit A to the Complaint, purported to be a copy of the ’221

patent, includes 13 claims, including two independent claims and eleven dependent claims. ADT

denies the remaining allegations in paragraph 15 of the Complaint.

       16.      ADT lacks sufficient factual basis to determine the priority date of the ’221

patent, and therefore denies such allegations in paragraph 16 of the Complaint. ADT denies the

remaining allegations in paragraph 16 of the Complaint.

       17.      ADT denies the allegations in paragraph 17 of the Complaint.




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          18.      To the extent that paragraph 18 contains excerpts from the ’221 patent, ADT

neither admits nor denies those excerpts, and respectfully refers the Court to the ’221 patent

itself.

          19.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 19, and therefore denies each of the allegations in paragraph 19 of the

Complaint.

          20.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 20, and therefore denies each of the allegations in paragraph 20 of the

Complaint.

          21.      To the extent that paragraph 21 contains excerpts from the ’221 patent, ADT

neither admits nor denies those excerpts, and respectfully refers the Court to the ’221 patent

itself.

          22.      To the extent that paragraph 22 contains excerpts from the ’221 patent, ADT

neither admits nor denies those excerpts, and respectfully refers the Court to the ’221 patent

itself.

          23.      To the extent that paragraph 23 contains excerpts from the ’221 patent, ADT

neither admits nor denies those excerpts, and respectfully refers the Court to the ’221 patent

itself. Further, ADT lacks sufficient factual basis to determine the accuracy of the remaining

allegations set out in paragraph 23, and therefore denies each of the remaining allegations in

paragraph 23 of the Complaint.

          24.      To the extent that paragraph 24 contains excerpts from the ’221 patent, ADT

neither admits nor denies those excerpts, and respectfully refers the Court to the ’221 patent

itself. Further, ADT lacks sufficient factual basis to determine the accuracy of the remaining



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allegations set out in paragraph 24, and therefore denies each of the remaining allegations in

paragraph 24 of the Complaint.

       25.      To the extent that paragraph 25 contains excerpts from the ’221 patent, ADT

neither admits nor denies those excerpts, and respectfully refers the Court to the ’221 patent

itself. Further, ADT lacks sufficient factual basis to determine the accuracy of the remaining

allegations set out in paragraph 25, and therefore denies each of the remaining allegations in

paragraph 25 of the Complaint.

       26.      To the extent that paragraph 26 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 26 of the Complaint.

       27.      To the extent that paragraph 27 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 27 of the Complaint.

       28.      To the extent that paragraph 28 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 28 of the Complaint. Further, ADT lacks sufficient

factual basis to determine the accuracy of the remaining allegations set out in paragraph 28, and

therefore denies each of the remaining allegations in paragraph 28 of the Complaint.

       29.      ADT denies each of the allegations in paragraph 29 of the Complaint.




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       30.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 30, and therefore denies each of the allegations in paragraph 30 of the

Complaint.

                              ACCUSED INSTRUMENTALITIES

       31.      ADT admits that it has previously sold, advertised, or offered for sale home

security systems referred to as “Blue by ADT.” ADT denies the remaining allegations in

paragraph 31 of the Complaint.

                                       COUNT ONE
                     (Infringement of United States Patent No. 8,856,221)

       32.      ADT reincorporates the preceding paragraphs of this Answer from above.

       33.      ADT admits that this is an action for alleged patent infringement arising under

Title 35 of the United States Code.

       34.      ADT denies the allegations in paragraph 34 of the Complaint.

       35.      ADT denies the allegations in paragraph 35 of the Complaint.

       36.      ADT denies the allegations in paragraph 36 of the Complaint.

       37.      ADT denies the allegations in paragraph 37 of the Complaint.

       38.      ADT denies the allegations in paragraph 38 of the Complaint.

       39.      This numbered paragraph does not warrant a response from ADT. To the extent

the claim chart of Exhibit B contains allegations, ADT denies all allegations.

       40.      ADT denies the allegations in paragraph 40 of the Complaint.

       41.      ADT denies the allegations in paragraph 41 of the Complaint.

       42.      ADT denies each of the allegations in paragraph 42 of the Complaint.




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        43.      ADT admits that a purported copy of the ’221 Patent, titled “System and Method

for Storing Broadcast Content in a Cloud-based Computing Environment,” is attached to the

Complaint as Exhibit A.

        44.      ADT denies the allegations in paragraph 44 of the Complaint.

        45.      ADT denies the allegations in paragraph 45 of the Complaint.

        46.      ADT denies the allegations in paragraph 46 of the Complaint.

        47.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 47, and therefore denies each of the allegations in paragraph 47 of the

Complaint.

        48.      ADT denies the allegations in paragraph 48 of the Complaint.

                                  DEMAND FOR JURY TRIAL

        49.      RBDS’ demand for a trial by jury is a legal statement that ADT can neither admit

nor deny.

                                      PRAYER FOR RELIEF

        50.      ADT denies that RBDS is entitled to any requested relief. To the extent not

expressly addressed above, ADT denies the factual allegations in the Complaint.

                                             DEFENSES

                                 First Defense (Non-Infringement)

        51.      RBDS is not entitled to any relief against ADT because ADT has not infringed

and is not infringing, either directly, indirectly, contributorily, or by inducement, either literally

or under the doctrine of equivalents, any valid, enforceable claim of each of the ’221 patent.




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                                   Second Defense (Invalidity)

       52.      One or more of the claims of the Patent-in-Suit are invalid and/or unenforceable

under one or more provisions of Title 35, United States Code, including, but not limited to, 35

U.S.C. §§ 101, 102, 103 and/or 112.

                             Third Defense (Statute of Limitations)

       53.      RBDS’ claims are barred, some in part and others in toto, by the statute of

limitations, which prevents recovery for “any infringement committed more than six years prior

to the filing of the complaint or counterclaim for infringement in the action.” 35 U.S.C. § 286.

                        Fourth Defense (Prosecution History Estoppel)

       54.      RBDS’ claims are barred by the doctrine of prosecution history estoppel based on

amendments, statements, admissions, omissions, representation disclaimers, and/or disavowals

made during prosecution of the Patent-in-Suit.

                                      Fifth Defense (Waiver)

       55.      RBDS’ claims are barred by equitable doctrine of waiver due to RBDS’

knowledge of ADT’s allegedly infringing actions, and its unjustified failure to pursue

infringement claims diligently and timely from the time it became aware that it supposedly had

claims against ADT.

                                Sixth Defense (Failure to Mark)

       56.      RBDS’ claim for damages is limited to the extent RBDS failed to mark its

products, provide notice, or otherwise meet the requirements of 35 U.S.C. § 287.

                           Seventh Defense (Failure to State a Claim)

       57.      RBDS’ Complaint fails to state a claim for which relief can be granted, in

particular a claim for infringement of the Patent-in-Suit, as required under Federal Rules of

Procedure 12(b)(6).

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                                Eighth Defense (Exceptional Case)

       58.      ADT has engaged in all relevant activities in good faith, thereby precluding

RBDS, even if it prevails, from proving that this is an exceptional case justifying a recovery of

its reasonable attorneys’ fees and/or costs under 35 U.S.C. § 285.

                               Ninth Defense (Equitable Defenses)

       59.      RBDS’ claims are barred by the doctrine of unclean hands and/or other equitable

defenses.

                                       OTHER DEFENSES

       60.      ADT reserves all defense under rule 8(c) of the Federal Rules of Civil Procedure,

the Patent Laws of the United States, and any other defenses, at law or equity, that may now

exist or in the future be available based on discovery or other factual investigations in this case.

                                         JURY DEMAND

       61.      ADT requests a trial by jury on all issues triable by a jury.

                                     PRAYER FOR RELIEF

       ADT requests that the Court:

       A.       Dismiss all counts of RBDS’ Complaint for patent infringement with prejudice,

                and award RBDS nothing by way of its Complaint;

       B.       Enter a judgment finding that ADT has not infringed any claim of the Patent-in-

                Suit;

       C.       Enter a judgment that the Patent-in-Suit is invalid;

       D.       Declare this case to be exceptional under 35 U.S.C. § 285, and enter judgment

                awarding ADT its costs, reasonable attorneys’ fees, and expert witness fees in this

                action; and,

       E.       Award ADT such further relief as the Court may deem just and proper.

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Dated: July 7, 2023                 PILLSBURY WINTHROP SHAW PITTMAN LLP

                                     /s/ Michael E. Zeliger

                                    Steven Tepera (TX Bar No. 24053510)
                                    steven.tepera@pillsburylaw.com
                                    401 Congress Avenue, Suite 1700
                                    Austin, TX 78701-3797
                                    Phone: 512.580.9600
                                    Fax: 512.580.9601

                                    Michael E. Zeliger (CA Bar No. 271118)
                                    michael.zeliger@pillsburylaw.com
                                    2550 Hanover Street
                                    Palo Alto, CA 94304
                                    Phone: 650.233.4097
                                    Fax: 650.233.4069

                                    Audrey Lo (CA Bar No. 253738)
                                    audrey.lo@pillsburylaw.com
                                    2550 Hanover Street
                                    Palo Alto, CA 94304
                                    Phone: 650.233.4097
                                    Fax: 650.233.4085

                                    Counsel for Defendant, ADT Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2023, a copy of the foregoing document was served on all

parties who have appeared in this case via the Court’s CM/ECF system and as identified on the

Notice of Electronic Filing (NEF).

Dated: July 7, 2023                           /s/ Michael E. Zeliger




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